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                          UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

Vs.                                              Case Number: 3:19-cr-218-J-20JRK


ROMEO XAVIER LANGHORNE,

      Defendant.
_____________________________________/

              MOTION TO WITHDRAW AS COUNSEL FOR DEFENDNAT

       COMES NOW, undersigned counsel, and moves this Court for an Order permitting

counsel to withdraw from further representation of Defendant. As grounds in support of this

motion, counsel states:

       1. Undersigned counsel was appointed to represent Defendant in January 2020 after the

Federal Public Defender was permitted to withdraw.

       2. Since being appointed, undersigned client has met in person with Defendant at the

Baker County Detention Center several times to discuss his case. Discovery in this case has been

delayed due to the Covid19 emergency and counsel has not been able to meet in person with

Defendant since late February. Counsel has spoken with Defendant by phone since in person

attorney visits have been canceled.

       3. Undersigned counsel has informed Defendant of this motion and the reasons for

moving to withdraw.

       4. Undersigned counsel was recently extended an offer by the Office of Regional

Conflict Counsel in Tallahassee to be a senior trial attorney. Counsel has accepted that offer and
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is in the process of shutting down his practice in order to move to Tallahassee. It is anticipated

that the job will start in June 2020.

       5. Undersigned counsel has spoken with Assistant U.S. Attorney Cofer-Taylor

concerning this motion and the reasons why it is being filed.

       WHEREFORE, undersigned counsel requests this Court grant this motion and enter an

Order permitting counsel to withdraw from further representation of Defendant and appoint new

counsel to represent Mr. Langhorne.


 CERTIFICATE OF SERVICE AND CONSULTATION WITH OPPOSING COUNSEL

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by CM/ECF to counsel for the United States, Ms. Cofer-Taylor, who has been informed of this
motion and the reasons for it being filed this 21st day of May, 2020.



                                              /s/ Charles Lammers
                                              __________________________________________
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